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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA



AHMED ALI MUTHANA,                                         Civil Action No. 1:19-cv-00445-RBW

                 Plaintiff/Petitioner,

vs.

MICHAEL POMPEO, et al.,

                 Defendants/Respondents.



                             REQUEST TO APPEAR TELEPHONICALLY

         Prospective amicus curiae Center for Constitutional Jurisprudence hereby respectfully

requests that this Court grant leave for John Eastman, one of its attorneys, to appear

telephonically at the expedited hearing scheduled for 11:00 a.m. on Monday, March 4, 2019, and

as grounds therefor would show:

      1. On Tuesday, February 26, 2019, this Court granted Plaintiff’s motion for expedited

         hearing, and set the hearing for 11:00 a.m. on Monday, March 4, 2019.

      2. In its General Order issued that same day, the Court noted that “counsel will be permitted

         to appear telephonically if they demonstrate good cause for such an appearance in

         advance of the scheduled hearing. Should the Court grant counsel permission to appear

         telephonically, they must provide the Courtroom Deputy Clerk with their contact

         information.”

      3. Dr. Eastman, currently residing in Santa Fe, New Mexico, has a previously scheduled

         commitment in California on Monday, March 4, 2019, and is in California currently.




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   4. Dr. Eastman (motion for admission pro hac vice pending) is therefore unable to attend

       the hearing on March 4, 2019 in person.

   5. On March 1, 2019, the Center for Constitutional Jurisprudence filed a motion for leave to

       file an amicus curiae brief in this matter, raising potentially dispositive issues that

       Plaintiff has not addressed.

   6. Although the Center’s local counsel will be attending the hearing, Dr. Eastman, as

       principal author of the brief, may be better able to respond to any questions about the

       arguments in the brief that the Court may have.

   7. An appearance telephonically would not prejudice either party.

   8. Counsel for Plaintiff has advised counsel for the Center that they take no position on this

       request. The Center attempted to contact counsel for Defendants over the weekend to

       determine whether they would consent to this request, but as yet has not received a

       response. Time permitting, counsel for the Center will update the Court once a response

       is received.

WHEREFORE, prospective amicus curiae Center for Constitutional Jurisprudence respectfully

requests that this Court allow leave for the Center’s counsel, Dr. John Eastman, to appear

telephonically at the expedited hearing on March 4, 2019.



Dated: March 3, 2019                          Respectfully Submitted,

                                              /s/ Julie Axelrod_______________________
                                              JULIE AXELROD (D.C. Bar No. 1001557)
                                              1629 K Street, NW
                                              Washington, DC 20006
                                              Tel: (703) 888-2442
                                              jba@cis.org




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